             Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 1 of 21




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -   -   -    -   -    -   -    -       -   -   -   -   -   -   -   -   X
 UNITED STATES OF AMERICA                                                   SEALED INDICTMENT

                       -   V.       -                                       23 Cr .

 CHARLES MCGONIGAL and
 SERGEY SHESTAKOV,

                      Defendants .

 -   -   -    -   -   -    -    -       -   -   -   -   -   -   -   -   X



                                                            INTRODUCTION

         1.           CHARLES McGONIGAL and SERGEY SHESTAKOV, t h e

defendants , violated sanctions imposed by t he United States on

Oleg Deripaska , a Russian oligarch .                                       McGONIGAL is a former

senior offici al of the Federal Bureau of Investigation (the

"FBi n).          SHESTAKOV is a former Soviet and Russian di p l omat who

more recently served as an interpreter for United States federal

courts and prosecutors .                                In or about 2021 , MCGONIGAL and

SHESTAKOV agreed to and did investi gate a rival Russian oligarch

( \'Oligarch-2 " ) of Deripaska i n return for concealed payments

from Deripaska , in violation of sanct i ons the United States

imposed on Deripaska in 2018 .                                      McGONIGAL and SHESTAKOV were

aware that their actions violated these sanct ions because , among

other reasons , while serving as an FBI Special Agent in Charge ,
       Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 2 of 21




MCGONIGAL received then-classified information that Deripaska

would be added to a list of oligarchs considered for sanctions

as part of the process that led to the imposition of sanctions

against Deripaska , and after McGONIGAL left the FBI , he and

SHESTAKOV worked on behalf of DERIPASKA in an unsuccessful

effort to have those sanctions lifted .

                   McGONIGAL, SHESTAKOV, and Deripaska

     2.       CHARLES McGONIGAL , the defendant , served in the FBI

from 1996 to 2018 .     During his FBI career , McGONIGAL worked in

Russian counterintelligence and organized crime matters and

counter-espionage , among other areas .      Beginning in 2016 until

his retirement in 2018, McGONIGAL served as the Special Agent in

Charge ("SAC") of the Counterintelligence Division of the FBI ' s

New York Field Office .     As SAC, McGonigal supervised and

participated in investigations of Russian oligarchs , incl uding

Deripaska .     Among other things , in 2018 , McGONIGAL , while acting

as SAC , received and reviewed a then-classified list of Russian

oligarchs with close ties to the Kremlin who would be considered

for sanctions to be imposed as a result of Russia ' s 2014

conflict with Ukraine .

     3.       SERGEY SHESTAKOV, the defendant , served as a

translator and as a diplomat for the Ministry of Foreign Affairs




                                     2
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 3 of 21




of the Soviet Uni on and the Russian Federation from 1979 until

his retirement in 1993 , often in New York, New York.        After his

retirement , SHESTAKOV continued to work in the New York City

area , and maintained residence in Connecticut .      Among other

employment , SHESTAKOV worked as an interpreter for the federal

courts and United States attorneys ' offices in the Southern and

Eastern Districts of New York.

     4.   Oleg Deripaska is a Russian national , oft en referred

to as an oligarch, meaning that he has vast wealth and close

connections to the Russian state .      On or about April 6, 2018 ,

the United States Department of the Treasury ' s Office of Foreign

Assets Control ("OFAC") designated Deripaska as a Specially

Designated National ("SDN") , in connection with its f i nding that

the act ions of the government of the Russian Federation with

respect to Ukraine constitute an unusual and extraordinary

threat to the national security and foreign policy of the United

States (the "OFAC Sanctions").

                          The OFAC Sanctions

     5.   The International Emergency Economic Powers Act (the

"IEEPA") , codified at Title 50 , United States Code , Sections

1701-1708 , confers upon the President authority to deal with

unusual and extraordinary threats to the national security and




                                    3
       Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 4 of 21




foreign policy of the United States .         Section 1705 provides , in

part , that "[i ] t shall be unl awful for a person to violate ,

attempt to violate , conspire to violate , or cause a violation of

any license , order , regulation, or prohibition issued under this

chapter . "    SO U. S . C. § 1705(a) .

      6.      In 2014 , pursuant to his authorit i es under t he IEE PA,

the President issued Executi ve Order 13660 , which declared a

national emergency wi th respect to the situation in Ukraine .         To

address this national emergency , the President blocked all

property and interest in property that were then or thereafter

came within the United States or that were then or thereafter

came within the possess i on or control of any United States

person , of individuals determined by the Secretary of t he

Treasury to meet one or more enumerated cri ter ia .       These

criteria include, but are not limited to , individuals determined

to be responsible for or compli cit i n, or who engage in , actions

or policies that threaten the peace , security , stabi lity ,

sovereignty , or territorial integrity of Ukraine ; or who

materially assist , sponsor, or provide finan cial , material , or

technological support for , or goods or servi ces to , individuals

or entities engaging in such activities .         Executive Order 13660

prohibits , among ot her things , the making of any contribution or




                                          4
       Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 5 of 21




provision of funds , goods, or services by, to , or for the

benefit of any person whose property and interests in property

are b l ocked, and the receipt of any contribution or provision of

funds , goods , or services from any such person .

     7.    The national emergen cy declared in Executive Order

13660 with respect to the situation in Ukraine has remained in

conti nuous effect since 201 4 , and was most recently continued on

March 2 , 2022 .

      8.   The President on multiple occasions expanded the scope

of the national emergency declared in Executive Order 13660,

including through : (1) Executive Order 13661 , issued on March

16, 2014, which addresses the actions and policies of the

Russian Federation with respect to Ukraine , including the

deployment of Russian Federation mili tary forces in the Crimea

region of Ukraine ; and (2) Executive Order 13662 , issued on

March 20 , 2014, whi ch addresses the actions and policies of the

gove rnment of the Russian Federation , including its purported

annexation of Crimea and its use of force in Ukraine .         Executive

Orders 13660 , 13661 , and 13662 are col lectively referred to as

the uukraine-Rel ated Executive Orders . "

      9.   The Ukraine- Related Executive Orders authorized t h e

Secretary of the Treasury to take such actions , including t he




                                     5
        Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 6 of 21




promulgation of rules and regulations , and to empl oy all powers

granted to the President under the IEEPA, as may be necessa ry to

carry out the purposes of t h ose orders .      The Ukraine-Related

Executive Orders further authorized the Secretary of the

Treasury to redelegate any of these functions to other offi ces

and agencies of the United St ates Government .

      10.    To i mplement the Ukr aine-Related Executive Orders,

OFAC issued certain Ukraine-Related Sanctions Regu l ations .

These regulations incorporate by reference the definition of

prohi bited transactions set forth in the Ukraine-Related

Executive Orders .       See 31 C.F. R. § 589.201 . The regulations also

provide that the names of persons designated directly by the

Ukraine-Related Executive Orders , or by OFAC pursuant to the

Ukraine-Related Executive Orders , whose property a nd interests

are therefore blocked , are published in the Federal Register and

incorporated i nto the SDN and Blocked Persons List (the "SDN

List ") , which is published on OFAC' s public website .        See 31

C.F . R. § 589 . 201 n . 1 .

      11.    On or about April 6, 2018 , OFAC designated Deripaska

as an SON pursuant to the Ukraine-Related Executive Orders .             In

particular , OFAC designated Oeripaska pursuant to Executive

Order 13661 for having acted or purported to act for or on




                                      6
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 7 of 21




behalf of , directly or indirectly, a senior official of the

Government of the Russ i an Federation , as well as pursuant

Executive Order 13662 for operating in the energy sector of the

Russian Federation economy .

   SHESTAKOV Connects McGONIGAL to Agent-1, Der ipaska's Agent

     12 .   In or about 2018 , while McGONIGAL was still serving as

SAC , SHESTAKOV introduced McGONIGAL via email to an empl oyee and

agent of Deripaska ("Agent-1").      Agent-1 was formerly a diplomat

with the Minis try of Foreign Affairs for the Soviet Onion and

Russian Federation, and rumored in public media reports to be a

Russian intJll igence officer.     At all relevant times , Agent-1

worked for and reported to Deripaska and served as an officer of

a corporation that , in 2018 , was primarily owned by Deripaska

and itself s ubject to sanctions under the IEEPA .

     13 .   In or about the Spring and Summer of 2018 , SHESTAKOV

asked McGONIGAL to help Agent-1 obtai n an internship with t he

New York City Police Department ("NYPD") for Agent-l ' s daughter ,

in the fields of counterterrorism, intelligence gathering , and

"international liaisoning ."     McGONIGAL agreed to h elp , and he

requested assistance from a contact in the NYPD , telling the

contact "I have an interest in her father for a number of

reasons."    McGONIGAL also informed an FBI supervisor who worked




                                    7
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 8 of 21




for McGONIGAL that McGONIGAL wanted to recruit Agent-l r who was ,

according to McGONIGAL , a Russian intelligence officer .        Through

McGONIGAL's efforts, Agent-l's daughter received VIP treatment

from the NYPD.   An NYPD Sergeant assigned to brief Agent - l's

daughter subsequently reported the event to the NYPD and FBI ,

because , among other reasons , Agent-l's daughter claimed to have

an unusually close relationship to "an FBI agent" who had given

her access to confidential FBI files , and it was unusual for a

college student to receive such special treatment from the NYPD

and FBI.

                    The 2019 Law Firm Engagement

     14 .   In or about 2019 , after McGONIGAL had retired from the

FBI, SHESTAKOV and McGONIGAL introduced Agent-1 to an

international law firm with an office in Manhattan , New York

(the "Law Firm").   Agent-1 sought to retain the Law Firm to work

in having the OFAC Sanctions against Deripaska removed, a

process often referred to as "delisting . "

     15.    During negotiations to retain the Law Firm, McGONIGAL

traveled to meet Deripaska and others at Deripaska ' s residence

in London, and in Vienna .    In electronic communications

exchanged as part of these negotiations, McGONIGAL , SHESTAKOV,

Agent-1, and others did not refer to Deripaska by his surname ,




                                    8
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 9 of 21




but rather used labels such as "the individual ," ~our friend

from Vienna , " and "the Vienna client .''   At the conclusion of the

negotiations , Deripaska personally signed an engagement letter

with the Law Firm, engaging it to undertake efforts at delisting

Deripaska , pursuant to 31 C.F . R. 589 . 506(a) , which provides a

limited excepti on to the OFAC Sanctions for certain legal

representation of persons subject to the OFAC Sanctions .

     16 .   Pursuant to the terms of the engagement between the

Law Firm and Deripaska, Deripaska was to pay the Law Firm

$175 , 000 per month , with $25 , 000 " currently earmarked" for

\\certain other professional s . "   The Law Firm retained McGONIGAL

as a consultant and investigator on the Deripaska matter .

MCGONIGAL asked that the Law Firm compensate him by transmitting

$25 , 000 to a corporation owned by SHESTAKOV (t he " Shestakov

Corporation") .   The Law Firm in fact made t hat payment .

     17 .   The Law Firm' s work for Deripaska was interrupted by ,

among other things , the COVID-19 pandemic .      Although the

engagement was not formally terminated , work and payment on the

matter had ceased by in or about March 2020 .

             The Defendants I lle gally Work for Deripaska

     18 .   Beginning in or about the Spring of 2021 , Agent-1

began negotiating with McGONIGAL and SHESTAKOV to retain the




                                     9
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 10 of 21




defendants to work directly for Deripaska, without the

involvement of the Law Firm and on a non-legal matter not lawful

under the OFAC Sanctions .     In electronic messages exchanged

among the defendants and Agent- 1 , Deripaska was again not named,

but rather referred to using labels as "you know whom, " "the big

guy, " and "the client . "   The project for which Deripaska ,

operating through Agent-1 , sought to retain t he defendants was

investigating Oligarch-2 , with an emphasis on , among other

things , Oligarch- 2's interests in a l arge Russian corporation

(the "Russian Corporation" ) whi ch Deripaska and Oligarch-2 were

contesting control over ; assets that Oligarch-2 may have hidden

outside Russia ; and the possibility that Oligarch-2 secretly

held a passport issued by a nation other than Russia.

     19 .   In or about August 2021 , McGONIGAL, SHESTAKOV , and

Agent-1 drafted and executed a contract (the "Contract") .

According to the Contract , a Cyprus corporation (the "Cyprus

Corporation") would pay a Corporation based in New Jersey (the

"New Jersey Corporation") $51 , 280 upon execution of the Contract

and $41 , 790 per month for "business intelligence services,

ana lys is , and research relevant to [the Russian Corporation ],

its business operations , and shaiehol ders. "     Although the

payments under the Contract in fact would be made to MCGONIGAL




                                    10
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 11 of 21




and SHESTAKOV at the behest of Deripaska , as negotiated by

Agent-1 , none of those people was named in or was a s i gnatory to

the Contract .   Pursuant to the Contract , on August 13 , 2021 1

$51 , 280 was wired from a Russian bank (the ~Russian Bank") to

the New Jersey Corporation, to be followed by monthly payments

of $41 , 790 between August 18 and November 18 , 2021 .

     20 .   The New Jersey Corporation was owned by a friend of

McGONIGAL (the ''Friend" ) .   The Friend had arranged for McGONIGAL

to participate in the business of the New Jersey Corporation

while McGONIGAL was still serving as SAC with the FBI .          The

Friend provided McGONIGAL with a corporate email account and a

cel lphone under a false name , which McGONIGAL at times used, in

order to conceal McGONIGAL' s work for the New Jersey Corporation

while still employed by the FBI.         Wi t h respect to the Contract ,

however , McGONIGAL told SHESTAKOV that he had not informed the

Friend that he was using the New Jersey Corporation to receive

payment on the Contract .      SHESTAKOV subsequently forged the

Friend' s signature on the Contract without the Friend ' s

knowledge or permission .      When the Friend questioned McGONIGAL

about why the Russian Bank was making payments to the New Jersey

Corporation , McGONIGAL told the Friend, in substance and in

part , that it was payment for "legitimate" work McGONIGAL was




                                    11
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 12 of 21




performing for "a rich Russian guy . "     The Friend acquiesced in

the use of the New Jersey Corporation , and subsequently

transferred funds obtained pursuant to the Contract at

McGONIGAL' s direction, including to McGONIGAL and SHESTAKOV .

     21.    From at least in or about August 2021 until in or

about November 2021 and in return for the payments specified in

the Contract, McGONIGAL sought to gather information about

Oligarch-2 and the Russian Corporation .       Among other things ,

McGONIGAL retained subcontractors to assist in this endeavor .

With respect to one such subcontractor ("Subcontractor-ln) ,

McGONIGAL requested a "soup to nuts" investigation of Oligarch-2

and the Russian Corporation .     McGONIGAL declined to t ell

Subcontractor-1 the identity of his client, despite having an

established relationship with Subcontractor- 1 in which McGONIGAL

had identified his prior , lawful client.

     22 .   On or about October 28, 2021 , Subcontractor-1 informed

McGONIGAL that a third-party had located "dark web" f iles that

could reveal "hidden assets valued at more t han 500 million us

$" and other information that McGONIGAL believed would be

valuable to Deripaska.     Between then and on or about November

21 , 2021 , McGONIGAL and SHESTAKOV negotiated with Agent-1 to

obtain funds from Deripaska to purchase these "dark web" f iles .




                                    12
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 13 of 21




This activity largely or completely ceased on or about November

21 , 2021 , when special agents of the FBI, acting pursuant to

court-issued search warrants , seized the defendants ' personal

electronic devices .

     SHESTAKOV Lies to Conceal His Relationship with Agent-1

     23 .   Immediatel y prior to the seizure of his electronic

devices on or about November 21, 2021 , SHESTAKOV met with FBI

agents in a Manhattan restaurant.        During that meeting ,

SHESTAKOV attempted to conceal the nature and depth of the

relationship between himself , McGONIGAL , and Agent-1 .         Among

other things , SHESTAKOV feigned uncertainty as to how recently

McGONIGAL and Agent- 1 had met with each other , even though

SHESTAKOV had in fact met with McGONI GAL and Agent-1 just twelve

days prior .   SHESTAKOV was also asked whether he had "ever

engaged in a business relationship with" Agent-1, to which

SHESTAKOV replied , in material part , "No, no business , " even

though SHESTAKOV was then involved in the Contract , which he

regularly discussed with Agent - 1, including earlier that day ,

and on which the most recent payment had been made three days

earlier .




                                    13
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 14 of 21




                         STATUTORY ALLEGATIONS

                                Count One
                      (Conspiracy to Violate the
            International Emergency Economic Powers Act)

     The Grand Jury charges:

     24 .   The allegations contained in paragraphs 1 through 23 of

this Indictment are incorporated as though fully set forth herein .

     25 .   From at least in or about the Spring of 2021 , up to

and including at least in or about November 2021 , in the

South ern District of New York and elsewhere , CHARLES McGONIGAL

and SERGEY SHESTAKOV , the defendants , and others known and

unknown , knowingly and willfully did combine , conspire ,

confederate , and agree together and with each other to violate

the IEEPA , in violation of 50 U.S.C . § 1705 , Executive Orders

13660 , 13661 , and 13662 , and 31 C. F . R. § 589 . 201.

     26 .   It was a part and an object of the conspiracy that

CHARLES McGONIGAL and SERGEY SHESTAKOV , the defendants , and

others known and unknown , would and did willfully violate ,

attempt to violate , and cause a violation of a license, order,

regulation , and prohibition issued under the IEEPA.

  (Title 50 , United States Code , Section 1705; Executive Orders
 13660, 13661 , and 13662; Title 31 , Code of Federal Regulations
                            § 589.201 . )




                                     14
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 15 of 21




                               Count Two
                            (Violation of the
             I nternational Emergency Economic Powers Act)

     The Grand Jury f urther charges :

     27.     The allegations contained i n paragraphs 1 through 23 of

this Indictment are incorporated as though ful ly set forth herein .

     28 .    From at least in or about the Spring of 2021 , up to

and including at least in or about November 2021 , in the

Southern District of New York and elsewhere , CHARLES McGONIGAL

and SERGEY SHESTAKOV , the defendants , willfully attempted to and

did make and receive a contribution of funds , goods, and

services to and for the benefit of Oleg Deripas ka , a specially

designated national.

  (Title 50 , United States Code , Section 1705 ; Executive Orders
 13660 , 13661, and 13662 ; Title 31 , Code of Federal Regulations
      § 589.201; Title 18, United States Code , Section 2 . )

                               Count Three
                (Conspiracy to Commit Money Laundering)

     The Grand Jury furth er charges :

      29 .   The allegations contained in paragraphs 1 through 23

of this Indictment are incorporated as t hough fully set fo r th

herein .

     30 .    From at least in or about August 2021 , up to and

including at least i n or about November 2021, in the Southern




                                    15
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 16 of 21




District of New York and elsewhere , CHARLES McGONIGAL and SERGEY

SHESTAKOV, the defendants , and others known and unknown ,

willfully and knowingly did combine , conspire , confederate , and

agree together and with each other to violate Title 18 , United

States Code , Section 1956 (a) (1) (B) (i) .

     31 .   It was a part and an object of the conspiracy that

CHARLES McGONIGAL and SERGEY SHESTAKOV, the defendants , and

others known and unknown , knowing that the property involved in

a financial transaction represented the proceeds of some form of

unlawful activity , would and did conduct and attempt to conduct

such a financial transaction , which in fact involved the

proceeds of specified unlawful activity , to wit , viola~ions of

IEEPA, knowing that the transaction was designed in whole and in

part to concea l and disguise the nature , the location , the

source , the ownership , and the control of the proceeds of

specified unlawful activity, in violation of Title 18 , United

States Code , Section 1956 ta) (1) (B) (i) .

             (Title 18, United States Code, Section 1956(h) .)




                                     16
       Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 17 of 21




                                Count Four
                            (Money Laundering)

     The Grand Jury fu r ther charges :

     32 .    The allegations contained in paragraphs 1 through 23

of t hi s Indictment are incorporated as though fully set fort h

herein .

      33 .   From at least in or about the Spring of 2021 , up to

and including at least in or about November 2021, in the

Southern District of New York and elsewhere , CHARLES McGONIGAL

and SERGEY SHESTAKOV, the defendants , and others known and

unknown , in an offense in and affecting interstate and foreign

commerce , knowing that the property involved in a financial

transaction represented the proceeds of some form of unlawful

activity, conducted and attempted to conduct such a financial

transaction , which in fact involved the proceeds of specified

unlawful activity , to wit , violations of IEEPA, in violation of

Title 50 , United States Code , Section 1705 , knowing that the

transaction was designed in who le and in part to conceal and

disguise the nature, the location, the source , the ownership ,

and the control of the proceeds of specified unlawful activity ,

to wit , the defendants caused Deripaska to transfer funds to

them through the Russian Bank, the Cyprus Corporation, and the




                                     17
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 18 of 21




New Jersey Corporation in order to conceal the origin and

control of those funds .

(Tit l e 18 1 United States Code , Sections 1956 (a) (1) (B) (i) and 2 . )

                                         COUNT FIVE
                                     (False Statements)

             The Grand Jury further charges:

     3 4.    The allegations contained in paragraphs 1 through 23 of

this I ndictment are incorporated as though f ully set forth herein .

     35.     On or about November 21 , 2021 , in the Southern District

of New York and elsewhere, SERGEY SHESTAKOV, the defendant, in a

matter within the            jurisdiction of the executive branch of the

Government     of     t he      United     States ,    knowingly     and    willfully

falsified , concealed, and covered up by a trick , scheme, and device

a material fact,           and made a materially false ,            fictitious ,   and

fraudulent statement and representation , to wit, when interviewed

by Special Agents of the FBI, SHESTAKOV (1) concealed the nature

of the relationship between CHARLES McGONIGAL and Agent-1 , and (2)

falsely     stated that         he     (SHESTAKOV)    did   not   have   any business

relationship with Agent-1 ,               when    in truth and in fact ,      and as

SHESTAKOV knew :          (1)   McGONIGAL and Agent-1 met and communicated

regularly and were then in a business relationship related to the

Contract ,   and    (2)     SHESTAKOV and Agent-1 were then in a business




                                             18
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 19 of 21




relationship related to the Contract ,                      regarding which SHESTAKOV

and Agent- 1 had communicated earlier on the                          same day on which

SHESTAKOV denied to the FBI having a business relationship with

Agent-1 .

              (Ti~le 18 , United States Code , Section 1001 . )

                                 FORFEITURE ALLEGATION

      36 .    As    a   result     of    committing         the     sanctions   violations

alleged in Counts One and Two of this Indictment , CHARLES McGONIGAL

and SERGEY SHESTAKOV, the defendants , shall forfeit to the United

States ,     pursuant       to    Title       18,     United      States   Code ,   Section

98 1 (a) (1 ) (C) , and Title 28 , United States Code , Section 2461 , all

property , real and personal , which constitutes or is derived from

proceeds traceable to the commission of the offenses alleged in

Counts One and Two.

      37 .    As a result of committing the money laundering offenses

alleged      in    Counts   Three       and    Four    of   this     Indictment ,   CHARLES

McGONIGAL         and SERGEY SHESTAKOV, the defendants , shall forfeit to

the   United States ,        pursuant         to    Title    18 ,   United States     Code,

Section 982 (a) ( 1) , any and all property , real or personal , involved

i n said offenses , or any property traceable to such property .

                            Substitute Asset Provision

      38 .    If any of the property described above as being subject




                                               19
      Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 20 of 21




to forfeiture,     as a result of any act or omission of CHARLES

MCGONIGAL and SERGEY SHESTAKOV, the defendants ,

                  a.    cannot be located upon the e~ercise of due

diligence ;

                  b.    has been transferr ed or sold to , or

deposited wi t h , a third party;

                  c.    has been placed beyond the jur isdiction of

the court ;

                  d.    has been substantially di minished in value ;

or

                   e.   has been commingled with other property

which cannot be divided without difficulty ; it is the intent of

the United States , pursuant to Title 21 , United St ates Code ,

Section 853(p) ; and Tit le 28 , United States Code , Secti on 2461

to seek forfeiture of any other property of the defendants up to

the value of the forfe i table property described above .

              (Tit l e 18 , United States Code , Sections 981 ;
               Tit le 21 , United States Code , Section 853 ;
              Title 28 , United States Code, Secti on 2461 . )

                                          ~iC&W:' ~--&~-:\: ' ;.,•. /"
                                           DAMIAN WILLIAMS
                                           United States Attorney




                                     20
Case 1:23-cr-00016-JHR Document 2 Filed 01/12/23 Page 21 of 21




           Form No. USA-33s-274 (Ed . 9-25-58)



              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK


                 UNITED STATES OF AMERICA

                              v.

                   CHARLES McGONIGAL and
                     SERGEY SHESTAKOV,

                                         Defendants.


                     SEALED INDICTMENT

                         23 Cr .

             (18 U. S. C. §§ 2, 1001 , and 1956 ;
                      50 u. s.c . § 1705 . )

                      DAMIAN WILLIAMS
